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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 24-23066-CIV-ALTONAGA/Reid

  RENE LORENTE-GARCIA,

         Plaintiff,
  v.

  CAROLINA GIRALDO-NAVARRO,
  et al.,

        Defendants.
  __________________________________/

                                              ORDER

         THIS CAUSE came before the Court on Defendants, Carolina Giraldo-Navarro (“Karol

  G”), Tijs Michiel Verwest (“Tiësto”), Atlantic Recording Corporation (“Atlantic”), Kobalt Music

  Publishing America, Inc. (“Kobalt”), Sony Music Publishing (US) LLC (“Sony”), and Warner

  Records Inc.’s (“Warner[’s]”) Motion to Dismiss Second Amended Complaint [ECF No. 72], filed

  on January 2, 2025. Plaintiff, Rene Lorente-Garcia filed an Opposition (“Response”) [ECF No.

  80]; to which Defendants filed a Reply [ECF No. 84]. The Court has carefully considered the

  parties’ written submissions, the record, and applicable law. For the following reasons, the Motion

  is granted in part and denied in part.

                                           I. BACKGROUND

         This action arises from allegations of copyright infringement. (See generally Second Am.

  Compl. (“SAC”) [ECF No. 64]). Plaintiff is a professional composer of Latin music, well known

  in the Cuban American community for his flute-playing. (See id. ¶¶ 21, 33). He wrote and

  performed one of his most acclaimed works, “Algo Diferente,” in 1998 and registered it with the
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  United States Copyright Office on May 30, 2000. (See id. ¶¶ 34–35; see also id., Ex. 1, Certificate

  of Registration [ECF No. 64-1]).

          The song has streamed on major digital platforms — such as Spotify and Apple Music —

  since 2007. (See SAC ¶ 40). Plaintiff also performed it on the internationally acclaimed Spanish

  program “Noches de Estrella,” on April 8, 2008.            (See id. ¶ 41).    The YouTube channel

  “spicandproud” featured a recording of this live performance, garnering over 1,400 views. (See

  id.).   Plaintiff also showcased his song on his personal YouTube channel, Rene Lorente

  (@renelorente), which boasts over 3,690 subscribers. (See id.). Additionally, the song’s melody

  has appeared in multiple albums released between 2000 and 2007. (See id. ¶ 40).

          Tiësto, a celebrated Dutch DJ and producer; and Karol G, a globally recognized Colombian

  singer-songwriter, composed the allegedly infringing track, “Don’t be Shy.” (See id. ¶¶ 22–23,

  42, 45). Atlantic released “Don’t be Shy” on August 12, 2021; within two years, it amassed at

  least 392 million performances, uploads, downloads, saves, and shares. (See id. ¶¶ 42, 45).

          Plaintiff alleges that “Don’t be Shy” is “substantially similar” to “Algo Diferente,” because

  the former borrows his track’s rhythm, harmony, and melody — resulting in what Plaintiff and his

  expert characterize as an “unauthorized reproduction” of Plaintiff’s work. (Id. ¶ 50 (emphasis

  omitted); see also id. ¶¶ 51–56; id., Ex. 3, Prelim. Expert Report . . . [ECF No. 64-3] 92–93). 1

  Despite this purported copying, Plaintiff received neither credit nor any compensation. (See SAC

  ¶ 45). He accuses Tiësto and Karol G of colluding to produce and distribute “Don’t be Shy” for

  commercial gain, while knowingly infringing his copyright. (See id. ¶¶ 40–41, 43–46). Plaintiff

  further alleges that Atlantic, Kobalt, Sony, and Warner facilitated the infringement by distributing



  1
   The Court uses the pagination generated by the electronic CM/ECF database, which appears in the headers
  of all court filings.


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  the song globally through streaming services, radio airplay, and digital downloads. (See id. ¶¶ 26–

  29).

          On August 29, 2023, Plaintiff initiated this action against Defendants 2 (see Compl. [ECF

  No. 1] ¶¶ 14–25; see also SAC ¶¶ 21–29), asserting four claims: a claim of copyright infringement

  against Karol G and Tiësto (Count I) (see SAC ¶¶ 60–78); a claim of contributory and vicarious

  infringement against Atlantic, Kobalt, Sony, and Warner (Count II) (see id. ¶¶ 79–81); a claim of

  unfair enrichment and defamation against Karol G and Tiësto (Count III) (see id. ¶¶ 82–89); and

  a claim of intentional infliction of emotional distress (“IIED”) against all Defendants (Count IV)

  (see id. ¶¶ 90–94). Plaintiff seeks declaratory and injunctive relief, along with damages totaling

  tens of millions of dollars. (See id. 32–34). Defendants ask the Court to dismiss the SAC for

  failure to state any claims for relief. (See generally Mot.; Reply).

                                        II. LEGAL STANDARD

          “To survive a motion to dismiss [under Federal Rule of Civil Procedure 12(b)(6)], a

  complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

  plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (alteration added; quoting Bell

  Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although this pleading standard “does not

  require ‘detailed factual allegations,’ . . . it demands more than an unadorned, the-defendant-

  unlawfully-harmed-me accusation.” Id. (alteration added; quoting Twombly, 550 U.S. at 555).

  Pleadings must contain “more than labels and conclusions, and a formulaic recitation of the

  elements of a cause of action will not do[.]” Twombly, 550 U.S. at 555 (alteration added; citation

  omitted). “[O]nly a complaint that states a plausible claim for relief survives a motion to dismiss.”


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    Since filing this case, Plaintiff has dropped certain fictitious Defendants, and the Court has dismissed
  others — namely, Teemu Brunila, Jonas David Kröper, and Yoshi Breen — for lack of personal jurisdiction.
  (See Oct. 15, 2024 Order [ECF No. 63] 2–3; Dec. 13, 2024 Order [ECF No. 70] 1).


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  Iqbal, 556 U.S. at 679 (alteration added; citing Twombly, 550 U.S. at 556).

         To meet this “plausibility standard,” a plaintiff must “plead[] factual content that allows

  the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

  Id. at 678 (alteration added; citing Twombly, 550 U.S. at 556). “The mere possibility the defendant

  acted unlawfully is insufficient to survive a motion to dismiss.” Sinaltrainal v. Coca-Cola Co.,

  578 F.3d 1252, 1261 (11th Cir. 2009) (citing Iqbal, 556 U.S. at 678), abrogated on other grounds

  by Mohamad v. Palestinian Auth., 566 U.S. 449 (2012). When considering a motion to dismiss, a

  court must construe the complaint “in a light most favorable to the plaintiff” and take its factual

  allegations as true. Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1369 (11th

  Cir. 1997) (citation omitted).

                                         III. DISCUSSION

         A. Count I: Copyright Infringement

         According to Defendants, Plaintiff’s copyright claim fails because the allegations do not

  establish a reasonable possibility of access, as the song’s limited online presence and modest

  viewership do not support an inference that Defendants encountered it. (See Mot. 6–10; Reply 4–

  6). Plaintiff insists that Defendants had ample opportunity to access the work, as the SAC shows

  that “Algo Diferente” was publicly released on multiple albums, widely distributed online, and

  performed on live television. (See Resp. 4–7).

         To state a direct copyright infringement claim, a plaintiff must allege that: “(1) [he] owns

  a valid copyright, and (2) the defendant copied the constituent elements of the work that are

  original.” Stripteaser, Inc. v. Strike Point Tackle, LLC, No. 13-62742-Civ, 2014 WL 866396, at

  *2 (S.D. Fla. Mar. 5, 2014) (alteration added; citing Baby Buddies, Inc. v. Toys R Us, Inc., 611

  F.3d 1308, 1315 (11th Cir. 2010)). Plaintiff alleges — and Defendants do not dispute — that he



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  owns a copyright for “Algo Diferente,” registered under U.S Copyright Registration Number PAu

  2-496-298. (See SAC ¶¶ 34, 65). Hence, to state a copyright infringement claim, Plaintiff need

  only plead that Defendants copied some of that work’s protected elements. See Disney Enters.,

  Inc. v. Hotfile Corp., 798 F. Supp. 2d 1303, 1307 (S.D. Fla. 2011) (citation omitted).

         “Where there is no direct proof of copying, a plaintiff may establish copying by alleging

  defendant had access to plaintiff’s work and [] plaintiff’s and defendant[s’] works are substantially

  similar.” Stripteaser, Inc., 2014 WL 866396, at *2 (alterations added; citing Oravec v. Sunny Isles

  Luxury Ventures, L.C., 527 F.3d 1218, 1223 (11th Cir. 2008)). If a plaintiff is unable to show

  access, the claim may still survive a motion to dismiss if he alleges facts showing the works are

  “strikingly similar.” Marasco v. Taylor Swift Prods., Inc., No. 24-cv-14153, 2024 WL 3636658,

  at *4 (S.D. Fla. July 26, 2024) (citing Calhoun v. Lillenas Publ’g, 298 F.3d 1228, 1232 n.6 (11th

  Cir. 2002)), report and recommendation adopted, 2024 WL 3636656 (S.D. Fla. Aug. 2, 2024).

  Striking similarity “exists where proof of similarity is so striking that the possibilities of

  independent creation, coincidence, and prior common source are, as a practical matter, precluded.”

  Id. (citing Corwin v. Walt Disney Co., 475 F.3d 1239, 1253–54 (11th Cir. 2007)).

         Plaintiff does not allege direct proof of copying but instead claims that Defendants had

  ample access to his track, and “Don’t be Shy” is substantially similar to “Algo Diferente.” (SAC

  ¶¶ 40–41, 48–59, 64). He goes further still, asserting that the infringing work is “strikingly

  similar” to his original composition. (Id. ¶ 64). Defendants challenge only Plaintiff’s access

  allegations, contending they are insufficient to establish copying — seemingly ignoring Plaintiff’s

  striking similarity allegation. (See Mot. 6–10). Because the Court finds Defendants’ access

  argument unpersuasive, it does not reach the striking similarity theory.




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         To plead access, a plaintiff must allege the defendant had a “reasonable opportunity to

  view” the work in question. Herzog v. Castle Rock Ent., 193 F.3d 1241, 1249 (11th Cir. 1999)

  (citation and quotation marks omitted). This can be shown by establishing the work’s “widespread

  dissemination[.]” Kelly Tracht, LLC v. Dazzle Up, LLC, No. 17-80434-Civ, 2017 WL 4681329,

  at *2 (S.D. Fla. Oct. 18, 2017) (alteration added; citing Olem Shoe Corp. v. Wash. Shoe Corp., 591

  F. App’x 873, 882 (11th Cir. 2015); other citations omitted). Yet, “[a]ccess may not be inferred

  through mere speculation or conjecture.” Herzog, 193 F.3d at 1250 (alteration added; citations

  and quotation marks omitted).

         Courts have found that mere availability of a copyrighted work on the internet, standing

  alone, “is insufficient to show access through widespread dissemination.” Loomis v. Cornish, No.

  12-cv-5525, 2013 WL 6044345, at *12 (C.D. Cal. Nov. 13, 2013) (citation omitted); see also

  O’Keefe v. Ogilvy & Mather Worldwide, Inc., 590 F. Supp. 2d 500, 515 (S.D.N.Y. 2008) (“[T]he

  mere fact that [a] work was posted on the internet prior to the creation of defendants’ work is

  insufficient by itself to demonstrate wide dissemination.” (alterations added; citations omitted));

  (Mot. 8 (citations omitted); Reply 4–6). Rather, a work “must achieve a high degree of commercial

  success or be readily available in the relevant market.” Loomis, 2013 WL 6044345, at *10

  (collecting cases); see also Design Basics, LLC v. Lexington Homes, Inc., 858 F.3d 1093, 1100

  (7th Cir. 2017) (reasoning that a plaintiff may satisfy the access requirement “by showing a

  copyrighted work was so widely disseminated that the defendant can be presumed to have seen or

  heard it” (citation omitted)).

         Even accepting this premise, Plaintiff’s allegations go well beyond mere online

  availability. (See generally SAC). To start, Plaintiff claims to be a celebrated musician and flutist,

  well-known in the Cuban American community — an assertion the Court accepts as true. (See id.



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  ¶¶ 21, 33); see also O’Connor v. Kawasaki Motors Corp., U.S.A., 699 F. Supp. 1538, 1542 (S.D.

  Fla. 1988) (citation omitted).

         Plaintiff further alleges Defendants have had ample access to his song through major

  streaming platforms like Spotify and Apple Music since 2007, a live performance on the Spanish

  program “Noches de Estrella” in 2008, and a YouTube video of that performance with over 1,400

  views. (See SAC ¶¶ 40–41). He also uploaded the song to his personal YouTube channel with

  over 3,600 subscribers, and the melody appeared on multiple albums released between 2000 and

  2007. (See id. ¶¶ 40–41). Taken together, these allegations depict a song — crafted by a popular

  musician — that was not just available but actively disseminated across multiple platforms,

  making it plausible that Defendants had a “‘reasonable opportunity to view’” Plaintiff’s work.

  Herzog, 193 F.3d at 1250 (citation omitted). Plaintiff thus adequately alleges access and states a

  copyright infringement claim.

         B. Count II: Contributory and/or Vicarious Infringement

         Defendants contend that Plaintiff’s contributory and vicarious infringement claim against

  Atlantic, Kobalt, Sony, and Warner fails, because there is no viable claim of direct infringement

  and, moreover, the same Defendant cannot simultaneously be both a direct and secondary

  infringer. (See Mot. 10). Plaintiff asserts that dismissing any Defendant now would be premature,

  pointing to the need for discovery to untangle the complex web of relationships between the

  parties. (See Resp. 8). The Court takes up both theories of indirect liability separately but notes

  that the Eleventh Circuit recognizes there is no clear distinction between the two. See Michael

  Grecco Prods., Inc. v. RGB Ventures, LLC, No. 16-cv-1335, 2017 WL 4077045, at *5 (M.D. Fla.

  Sept. 14, 2017) (citing Casella v. Morris, 820 F.2d 362, 365 (11th Cir. 1987)).




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          Contributory infringement. “One infringes contributorily by intentionally inducing or

  encouraging direct infringement[.]” Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545

  U.S. 913, 930 (2005) (alteration added; citation omitted); see also Cambridge Univ. Press v.

  Patton, 769 F.3d 1232, 1241 n.6 (11th Cir. 2014). Thus, to state such a claim, a plaintiff must

  allege: (1) a third party directly infringed the copyright; (2) the defendant knew about this

  infringement; and (3) the defendant materially contributed to it. See Duncanson v. SJ Wathen

  Bloomington, LLC, No. 14-cv-704, 2018 WL 1071958, at *4 (M.D. Fla. Feb. 27, 2018) (citations

  omitted).

          Plaintiff plausibly alleges all three elements. First, Plaintiff alleges that Tiësto and Karol

  G directly infringed his copyrighted composition, “Algo Diferente,” by reproducing its melody

  and musical arrangement in “Don’t Be Shy,” without authorization. (See SAC ¶¶ 42–43, 46).

  Second, Plaintiff insists that Atlantic, Kobalt, Sony, and Warner knew of the infringement — at

  the very least after receiving a cease-and-desist letter in June 2022 — yet continued to distribute

  and promote the infringing work. (See id. ¶¶ 44, 66; see also id., Ex. 2, June 16, 2022 Copyright

  Infringement Notices [ECF No. 64-2]). Finally, Plaintiff alleges that these Defendants materially

  contributed to the infringement by facilitating the song’s global release, profiting from its

  widespread distribution, and encouraging public performances. (See SAC ¶¶ 43, 79–80).

          Vicarious infringement. One “infringes vicariously by profiting from direct infringement

  while declining to exercise a right to stop or limit it[.]” Grokster, 545 U.S. at 930 (alteration added;

  citation and footnote call number omitted). To state such a claim, a plaintiff must allege that: (1)

  defendant profited from a third-party’s direct infringement; and (2) defendant had the right to stop

  or limit the infringement but did not. See UMG Recordings, Inc. v. Vital Pharms., Inc., No. 21-

  cv-60914, 2022 WL 2670339, at *9 (S.D. Fla. July 11, 2022) (citation omitted). Vicarious liability



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  can attach even if a defendant “‘was in no way directly involved in the actual copying.’” Id.

  (quoting Rams v. Def Jam Recordings, Inc., 202 F. Supp. 3d 376, 385 (S.D.N.Y. 2016)).

         As with contributory infringement, Plaintiff plausibly alleges the required elements. He

  states Atlantic, Kobalt, Sony, and Warner profited from the global distribution, performance, and

  sale of “Don’t Be Shy,” which directly infringed Plaintiff’s copyrighted work, “Algo Diferente.”

  (See SAC ¶¶ 43, 45, 79–81). Plaintiff further alleges that these Defendants had the authority to

  control the infringing activities but chose not to, continuing to promote and distribute “Don’t Be

  Shy” even after being notified of the infringement in June 2022. (See id. ¶¶ 44, 66, 81).

         Defendants argue that Plaintiff’s contributory and vicarious infringement claims must be

  dismissed, asserting there is no valid underlying claim of direct infringement and that a single

  defendant cannot be both a direct and secondary infringer. (See Mot. 10). As discussed, however,

  Plaintiff has stated a claim for direct infringement, and it is well settled that litigants may plead

  inconsistent or alternative claims. See Fed. R. Civ. P. 8(d)(2), (3); see also Adinolfe v. United

  Techs. Corp., 768 F.3d 1161, 1175 (11th Cir. 2014) (citation omitted).

         C. Count III (Unfair Enrichment/Defamation) and Count IV (IIED)

         Preemption.     Defendants next argue that Plaintiff’s state law claims — for unfair

  enrichment, defamation, and intentional infliction of emotional distress — are merely repackaged

  copyright infringement claims and, as a result, are preempted by the Copyright Act. (See Mot. 10–

  12; Reply 6–8). According to Plaintiff, the claims require an extra element beyond simple

  copyright infringement, placing them outside the scope of preemption. (See Resp. 8–9).

         The Copyright Act’s preemption provision states:

         [A]ll legal or equitable rights that are equivalent to any of the exclusive rights
         within the general scope of copyright as specified by section 106 in works of
         authorship that are fixed in a tangible medium of expression and come within the
         subject matter of copyright as specified by sections 102 and 103 . . . are governed

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          exclusively by this title. . . . [N]o person is entitled to any such right or equivalent
          right in any such work under the common law or statutes of any State.

   17 U.S.C. § 301(a) (alterations added). Courts use a two-part test to determine if the Copyright

   Act preempts a state law claim. See Poet Theatricals Marine, LLC v. Celebrity Cruises, Inc., 515

   F. Supp. 3d 1292, 1299 (S.D. Fla. 2021) (citation omitted), aff’d, No. 21-10410, 2023 WL 3454614

   (11th Cir. May 15, 2023)). Preemption occurs if the rights at issue: “(1) fall within the subject

   matter of copyright set forth in sections 102 and 103, and (2) are equivalent to the exclusive rights

   of section 106.” Id. (alteration adopted; citation and quotation marks omitted).

          Plaintiff’s composition, “Algo Diferente,” qualifies as a “musical work[]” under 17 U.S.C.

   section 102(a)(2), thus directing the Court’s attention to the equivalency analysis.              See id.

   (alteration added). Under this second prong, “if an extra element is required instead of or in

   addition to the acts of reproduction, performance, distribution[,] or display, in order to constitute

   a state-created cause of action, then the right does not lie within the general scope of copyright and

   there is no preemption.” Foley v. Luster, 249 F.3d 1281, 1285 (11th Cir. 2001) (alteration added;

   citation and quotation marks omitted). This is known as the “extra element test[.]” Id. (alteration

   added; citation and quotation marks omitted). Under the test, a state law claim is not preempted

   when “the extra element changes the nature of the action so that it is qualitatively different from a

   copyright infringement claim.” Id. (emphasis in original; citation and quotation marks omitted).

                  a. Count III

          Defendants assert that Plaintiff’s “unfair enrichment/defamation” claim is preempted by

   the Copyright Act and should be dismissed. (SAC 28; see also Mot. 10–12). Under Florida law,

   the elements of an unjust enrichment claim are: “(1) the plaintiff has conferred a benefit on the

   defendant; (2) the defendant voluntarily accepted and retained that benefit; and (3) the

   circumstances are such that it would be inequitable for the defendants to retain it without paying


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   the value thereof.” Virgilio v. Ryland Grp., Inc., 680 F.3d 1329, 1337 (11th Cir. 2012) (citations

   omitted). Plaintiff alleges he conferred a benefit on Defendants by means of their unauthorized

   use of his intellectual property; Defendants knowingly accepted, exploited, and retained that

   benefit; and it would be unjust for Defendants to keep the profits derived from his copyrighted

   work without compensating him. (See SAC ¶¶ 82–89).

          “As an initial matter, unlike implied-in-fact contract claims, quasi-contract claims — like

   unjust enrichment — are almost always preempted.” Fuss v. Bensch, 601 F. Supp. 3d 1329, 1337

   (N.D. Ga. 2022) (citation and quotation marks omitted). This is because “a state-law cause of

   action for unjust enrichment or quasi contract should be regarded as an ‘equivalent right’ and,

   hence, preempted insofar as it applies to copyright subject matter.” Id. (alteration adopted;

   quotation marks and emphasis omitted; quoting 1 Nimmer on Copyright § 1.15[G]; other citation

   omitted).

          Plaintiff’s claim is no exception. He alleges harm stemming solely from the unauthorized

   use of his intellectual property and identifies no “extra element” beyond that infringement to

   support the unjust enrichment claim. (See SAC ¶¶ 82–89); see also Fuss, 601 F. Supp. 3d at 1337

   (citation omitted). Unlike cases where litigants assert an expectation of compensation or a prior

   agreement, Plaintiff makes no such contention here. See Poet Theatricals Marine, 515 F. Supp.

   3d at 1303 (collecting cases). Instead, he alleges Defendants “unjustifiably [took] the credit for

   supposedly having written/authored the infringing work[.]” (SAC ¶ 82 (alterations added)). He

   also states Defendants “knowingly received a benefit as a result of the infringement of [“Algo

   Diferente”] with no legal justification []or right to do so.” (Id. ¶ 87 (alterations added)).

          These allegations amount to nothing more than the use and misattribution of Plaintiff’s

   copyrighted material — hardly the “extra element” needed to avoid preemption. See Fuss, 601 F.



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   Supp. 3d at 1337–38; see also Foley, 249 F.3d at 1285 (stating the Copyright Act’s preemption is

   “generally broad” (citation omitted)). Boiled down to its essence, Plaintiff’s unjust enrichment

   claim repackages his copyright infringement allegations and seeks to enforce rights equivalent to

   those created by the Copyright Act. See Poet Theatricals Marine, 515 F. Supp. 3d at 1304.

          Plaintiff’s defamation claim, although included within the same count and relying on

   overlapping factual allegations (see SAC ¶¶ 82–89), does introduce an extra element beyond

   copyright infringement. Under Florida law, defamation requires that: (1) a defendant publish a

   false statement, (2) the statement was shared with a third party, and (3) plaintiff suffered damages

   as a result. See Nautica Int’l, Inc. v. Intermarine USA, L.P., 5 F. Supp. 2d 1333, 1344 (S.D. Fla.

   1998) (citations omitted). Because defamation turns on the truth or falsity of a statement, rather

   than mere copying, it includes an extra element that precludes preemption under the Copyright

   Act. Cf. Archer v. Holmes, No. 17-cv-2051, 2018 WL 534475, at *3 (N.D. Ga. Jan. 23, 2018)

   (“Because the false representation of a material fact is not only a required element, but in truth the

   ‘gravamen’ of a fraud claim, it adds the extra element that qualitatively distinguishes [plaintiff]’s

   fraud claim from copyright infringement.” (alteration added; footnote call number omitted)).

                  b. Count IV

          Defendants likewise contend that Plaintiff’s IIED claim is preempted by the Copyright Act.

   To state an IIED claim, a plaintiff must plead four elements: (1) defendant’s conduct was

   intentional or reckless; (2) the conduct was outrageous, beyond all bounds of decency, and utterly

   intolerable in a civilized society; (3) the conduct caused emotional distress; and (4) the emotional




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   distress was severe. See Moore v. Otero, No. 16-cv-303, 2016 WL 4267795, at *4 (M.D. Fla. Aug.

   11, 2016) (citing Moore v. Pederson, 806 F.3d 1036, 1053 (11th Cir. 2015)).

          Plaintiff claims Karol G and Tiësto altered the copyrighted song to create a derivative work

   that includes “vulgar profanity[,]” causing him “emotional distress[.]” (SAC ¶ 90 (alterations

   added)). As for Atlantic, Kobalt, Sony, and Warner, Plaintiff alleges they reproduced, distributed,

   and sold the derivative work, leading to further emotional and reputational harm. (See id. ¶ 91).

          The Copyright Act grants exclusive rights “to reproduce the copyrighted work[,]” “to

   prepare derivative works[,]” and “to distribute copies . . . to the public[.]” 17 U.S.C. § 106

   (alterations added). Plaintiff’s IIED claim against Atlantic, Kobalt, Sony, and Warner targets this

   very conduct; as it is based entirely on the “unauthorized reproduction, alteration, sale, and

   distribution” of his copyrighted material. (SAC ¶ 91). Courts consistently find such claims

   preempted, as they “do nothing more than seek to vindicate the same rights” that the Copyright

   Act protects. Mills v. Alphabet Inc., No. 16-cv-4669, 2018 WL 1569838, at *7 (S.D.N.Y. Mar.

   28, 2018) (citations omitted); see also Rainey v Wayne State Univ., 26 F. Supp. 2d 963, 969 (E.D.

   Mich. 1998) (finding an emotional distress claim preempted because “the extreme and outrageous

   conduct which plaintiff relies upon to prove her claim is the unauthorized reproduction of her

   artwork[,]” which “is exactly what copyright law protects” (alteration added)).

          The claim against Karol G and Tiësto presents a closer call. Plaintiff alleges that the duo

   altered his work by adding profanity — like the phrase “Fuck ‘em” — to create an unauthorized

   derivative, causing him emotional and reputational harm. (SAC ¶ 90 (quotation marks omitted)).

   This is not just about unauthorized use; rather, it is about the character of the changes. While

   courts typically preempt emotional distress claims rooted in infringement, see, e.g., Giddings v.

   Vision House Prod., Inc., No. 05-cv-2963, 2007 WL 2274800, at *2 (D. Ariz. Aug. 7, 2007), the



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   offensive nature of Karol G and Tiësto’s alterations arguably injects a new element, helping the

   claim to avoid copyright preemption. The Court will not decide this question, however, as it makes

   no difference to the outcome because Plaintiff still fails to state an IIED claim, as explained below.

          Failure to state claims. Defendants argue that Plaintiff fails to state a claim for relief in

   Counts III and IV. (See Mot. 12–16; see also Reply 6–8). Because the unjust enrichment claim

   in Count III, as well as the IIED claim against Atlantic, Kobalt, Sony, and Warner in Count IV,

   are preempted by the Copyright Act, the Court need not decide whether they state viable claims.

   The focus is instead on the defamation and IIED claims against Karol G and Tiësto.

                  a. Count III

          As discussed, Plaintiff must allege the following to state a defamation claim under Florida

   law: “(1) publication; (2) falsity; (3) actor must act with knowledge or reckless disregard as to the

   falsity on a matter concerning a public official, or at least negligently on a matter concerning a

   private person; (4) actual damages; and (5) statement must be defamatory.” Diaz v. Miami-Dade

   Cnty., 424 F. Supp. 3d 1345, 1364 (S.D. Fla. 2019), aff’d, 849 F. App’x 787 (11th Cir. 2021)

   (citation and quotation marks omitted). To survive a motion to dismiss “[i]n a defamation case, a

   plaintiff must allege certain facts such as the identity of the speaker, a description of the statement,

   and provide a time frame within which the publication occurred.” Five for Ent. S.A. v. Rodriguez,

   877 F. Supp. 2d 1321, 1328 (S.D. Fla. 2012) (alteration added; citation and quotation marks

   omitted).

          Plaintiff broadly alleges that Defendants falsely took credit for writing and authoring

   “Don’t Be Shy” in unspecified media appearances, misattributing Plaintiff’s work and diminishing

   his recognition as the rightful composer. (See SAC ¶¶ 82–85, 88). Plaintiff further claims this

   misrepresentation caused him reputational, emotional, and economic harm. (See id. ¶¶ 84, 86).



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          Whether he is a public official or private person, Plaintiff’s allegations are insufficient. “In

   the absence of the necessary facts — [such as] when the statements were made — and an adequate

   description of the statements,” Plaintiff’s defamation claim against Karol G and Tiësto fails to

   meet the required pleading standard. Five for Ent. S.A., 877 F. Supp. 2d at 1328–29 (alteration

   added). Consequently, this claim is dismissed.

                  b. Count IV

          As noted, a plaintiff must allege four elements to state a claim for IIED: “(1) deliberate or

   reckless infliction of mental suffering; (2) by outrageous conduct; (3) which conduct must have

   caused the suffering; and (4) the suffering must have been severe.” Hart v. United States, 894

   F.2d 1539, 1548 (11th Cir. 1990) (citations omitted). “‘Under Florida law, whether conduct is

   sufficiently outrageous and intolerable as to form the basis for a claim of IIED is a matter of law

   for the court, not a question of fact.’” Arasteh v. LuxUrban Hotels Inc., No. 24-21990-Civ, 2024

   WL 4370890, at *5 (S.D. Fla. Oct. 2, 2024) (alterations adopted; emphasis omitted; quoting

   Golden v. Complete Holdings, Inc., 818 F. Supp. 1495, 1499–1500 (M.D. Fla. 1993)).

          The test for “outrageous conduct” asks whether the conduct “is so outrageous in character,

   and so extreme in degree, as to go beyond all possible bounds of decency, and to be regarded as

   atrocious, and utterly intolerable in a civilized community.” Patterson v. Downtown Med. &

   Diagnostic Ctr., Inc., 866 F. Supp. 1379, 1383 (M.D. Fla. 1994) (quotation marks omitted; quoting

   Metro. Life Ins. Co. v. McCarson, 467 So. 2d 277, 278 (Fla. 1985)). Florida courts apply “an

   extremely high standard” to determine whether conduct was “outrageous.” Cooper v. Empower

   U, Inc., 603 F. Supp. 3d 1317, 1322 (S.D. Fla. 2022) (citation and quotation marks omitted).

   “[M]ere insults, indignities, threats, or false allegations are not enough[,]” and “even allegations

   of reprehensible, objectionable, and offensive conduct have been rejected as insufficient to state a



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   claim for [IIED].” Id. (alterations added; quotation marks omitted; quoting Williams v. Worldwide

   Flight SVCS., Inc., 877 So. 2d 869, 870 (Fla. 3d DCA 2004)).

          Plaintiff’s allegations fall well short of this “extremely high standard.” Cooper, 603 F.

   Supp. 3d at 1322 (citation and quotation marks omitted). The allegation that Karol G and Tiësto

   added profanity to a derivative work — while perhaps offensive to Plaintiff — does not approach

   conduct that is “atrocious” or “utterly intolerable in a civilized community.” Patterson, 866 F.

   Supp. at 1383 (quotation marks omitted; quoting McCarson, 467 So. 2d at 278). Florida courts

   have rejected IIED claims for behavior far more reprehensible. See, e.g., Arasteh, 2024 WL

   4370890, at *5 (“The hurling of ‘humiliating language, vicious verbal attacks, and racial epithets,’

   including the n-word –– while ‘extremely reprehensible’ –– do not ‘reach the level of

   outrageousness and atrociousness’ required for an IIED claim.” (alterations adopted; citations

   omitted; quoting Lay v. Roux Lab’ys, Inc., 379 So. 2d 451, 452 (Fla. 1st DCA 1980))). Here, the

   alleged modifications do not amount to the extreme conduct IIED claims require.

          D. Claims Against Warner

          Finally, Defendants assert that Warner should be dismissed because the SAC contradicts

   prior allegations, lacks factual support for its claim that Warner exploited “Don’t Be Shy” in the

   United States, and was amended solely to evade Warner’s dismissal. (See Mot. 16–18; Reply 10).

   Plaintiff insists this argument is premature. (See Resp. 7–8). He is correct.

          Defendants state Plaintiff alleges that Warner “released the infringing work in the United

   States and throughout various regions of the world, including Italy thru [sic] contemporary hit

   radio format [on] August 27, 2021.” (Mot. 16 (alteration added; quotation marks omitted; quoting

   SAC ¶ 29)). At this stage, the Court must construe the operative complaint in a light most favorable

   to Plaintiff and accept his factual allegations as true. See Brooks, 116 F.3d at 1369 (citation



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   omitted). While Defendants point to discrepancies with prior pleadings (see Mot. 16), amended

   complaints supersede earlier ones, see Pace v. Peters, 524 F. App’x 532, 536 (11th Cir. 2013)

   (citation omitted). And the Court cannot conclude, as a matter of law, that Plaintiff is inventing

   facts to dodge dismissal. Cf. Goldstein v. Firer, No. 20-cv-23402, 2022 WL 18704836, at *2 (S.D.

   Fla. May 2, 2022) (Order Memorializing Ruling on Motion to Dismiss) (citing Fernandez v. Sch.

   Bd. of Miami-Dade Cnty., 201 F. Supp. 3d 1353, 1361 (S.D. Fla. 2016)).

          Accordingly, it is

          ORDERED AND ADJUDGED that Defendants, Carolina Giraldo-Navarro, Tijs Michiel

   Verwest, Atlantic Recording Corporation, Kobalt Music Publishing America, Inc., Sony Music

   Publishing (US) LLC, and Warner Records Inc.’s Motion to Dismiss Second Amended Complaint

   [ECF No. 72] is GRANTED in part and DENIED in part. Counts III and IV are dismissed.

          DONE AND ORDERED in Miami, Florida, this 20th day of February, 2025.



                                                  _______________________________________
                                                  CECILIA M. ALTONAGA
                                                  CHIEF UNITED STATES DISTRICT JUDGE

   cc:    counsel of record




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